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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA



  UNITED STATES OF AMERICA                      :    Case No:



                                             :      40 U.S.C. § 5104(e)(2)(G)
                                             :      (Parading, Demonstrating, or Piclteting in a Capitol
          V.                                 :      Building)

 Robert Ballesteros                          :



         Defendant.                         :

                                  STATEMENT O F O F F E N S E

        Pursuant to Federal Rule of Criminal Procedure 11, the United States of America, by and

through its attorney, the United States Attorney for the District of Columbia, and the defendant,

Robert Ballesteros, with the concurrence of his attorney, agree and stipulate to the below factual

basis for the defendant's guilty plea—that is, if this case were to proceed to trial, the parties

stipulate that the United States could prove the below facts beyond a reasonable doubt:

                        The Attack ai the U.S. Capitol on Januaiy 6, 2021

               1,   The U.S. Capitol, which is located at First Street, SE, in Washington, D.C, is

    secured 24 hours a day by U.S. Capitol Police. Restrictions around the U.S. Capitol include

    permanent and temporary security barriers and posts manned by U.S. Capitol Police. Only

    authorized people with appropriate identification are allowed access inside the U.S. Capitol.

               2.   On January 6, 2021, the exterior plaza of the U.S. Capitol was closed to

   members of the public.
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                3.      On January 6, 2021, a joint session ofthe United States Congress convened

   at the United States Capitol, which is located at First Street, SE, in Washington, D.C.

   During thejoint session, elected members of the United States House of Representatives and

  the United States Senate were meeting in separate chambers of the United States Capitol to

  certify the vote count of the Electoral College ofthe 2020 Presidential Election, which had

  taken place on November 3, 2020. Thejoint session began at approximately 1:00 p.m.

  Shortly thereafter, by approximately 1:30 p.m., the House and Senate adjourned to separate

  chambers to resolve a particular objection. Vice President Mike Pence was present and

 presiding, first in thejoint session, and then in the Senate chamber.

           4.         As the proceedings continued in both the House and the Senate, and with

 Vice President Pence present and presiding over the Senate, a large crowd gathered outside

 the U.S. Capitol. As noted above, temporary and permanent barricades were in place around

 the exterior of the U.S. Capitol building, and U.S. Capitol Police were present and

 attempting to keep the crowd away from the Capitol building and the proceedings underway

 inside.

           5.        At approximately 2:00 p.m., certain individuals in the crowd forced their way

through, up, and over the barricades, and officers of the U.S. Capitol Police, and the crowd

advanced to the exterior fa9ade of the building. The crowd was not lawfully authorized to

enter or remain in the building and, prior to entering the building, no members of the crowd

submitted to security screenings or weapons checks by U.S. Capitol Police Officers or other

authorized security officials.

       6.            At such time, the certification proceedings were still underway and the

exterior doors and windows of the U.S. Capitol were locked or otherwise secured. Members
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   ofthe U.S. Capitol Police attempted to maintain order and keep the crowd from entering the

   Capitol; however, shortly after 2:00 p.m., individuals in the crowd forced entry into the U.S.

   Capitol, including by breaking windows and by assaulting members of law enforcement, as

   others in the crowd encouraged and assisted those acts. The riot resulted in substantial

   damage to the U.S, Capitol, requiring the expenditure of more than $1.4 million dollars for

  repairs.

             7.     Shortly thereafter, at approximately 2:20 p.m., members ofthe United States

  House of Representatives and United States Senate, including the President ofthe Senate,

  Vice President Pence, were instructed to—and did—evacuate the chambers. Accordingly,

  all proceedings of the United States Congress, including thejoint session, were effectively

 suspended until shortly after 8:00 p.m. the same day. In light ofthe dangerous

 circumstances caused by the unlawful entry to the U.S. Capitol, including the danger posed

 by individuals who had entered the U.S. Capitol without any security screening or weapons

 check. Congressional proceedings could not resume until after every unauthorized occupant

 had left the U.S. Capitol, and the building had been confirmed secured. The proceedings

 resumed at approximately 8:00 p.m. after the building had been secured, Vice President

Pence remained in the United States Capitol from the time he was evacuated from the

Senate Chamber until the session resumed.

        Ballesteros's Participation in the January 6, 2021, Capitol Riot

        8.        Robert Ballesteros drove from New York to Washington D.C. to attend a

rally protesting the election results on January 6, 2021. Eventually, he made his way inside

the Capitol.
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         9.     On January 6, 2021, at approximately 2:15 p.m., Robert Ballesteros walked

 to the U.S. Capitol and witnessed others in front of him break into one ofthe main

 entrances. After they broke through the doors, Ballesteros followed them inside,

Ballesteros recorded a video while in the U.S. Capitol in which he shouts, "we broke in" and

"we are in the Capitol." He posted this video to social media. The video shows Ballesteros

inside the U.S. Capitol near the entrance with dozens of people in the background.

        10.    The defendant knew at the time he entered the U.S. Capitol Building that that

he did not have permission to enter the building, and the defendant paraded, demonstrated,

or picketed.




                                      , Respectfully submitted,

                                       CHANNING D, PHILLIPS
                                       Acting United States Attorney
                                       D.C. Bar No. 415793


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                             DEFENDANT'S ACKNOWLEDGMENT

         I, Robert Ballesteros, have read this Statement of the Offense and have discussed It with
 my attorney. I fully understand this Statement ofthe Offense. I agree and acknowledge by my
 signature that this Statement ofthe Offense is true andaccurate. I do this voluntarily and of my
 own free will. No threats have been made to me n ^ m n I under the influence of anything that
 could impede my ability to understand this S t a t e r p d ^ the O f f e n s ^ l l y .


Date:
                                     Rob
                                     Defendant


                            ATTORNEY'S ACKNOWLEDGMENT

       I have read this Statement of the Offense and have reviewed it with my client fully. I
concur in my client's desire to adopt this Statement ofthe Offense as true and accurate.



Date:

                                    Attorney for Defendant
